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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                  September 07, 2023
                     IN THE UNITED STATES DISTRICT COURT
                                                                                   Nathan Ochsner, Clerk
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

JEDIDIAH ISAAC MURPHY,                        '
                                              '
       Plaintiff,                             '
v.                                            '           CIVIL ACTION NO. H-23-3033
                                              '
BRYAN COLLIER, et al.,                        '
                                              '
       Defendants.                            '

                                ORDER ON DISMISSAL

       Jedidiah Isaac Murphy, a Texas inmate on death row, is scheduled for execution on

October 10, 2023. Murphy has filed a complaint under 42 U.S.C. § 1983. Under Texas

law, “[t]he body of a convict who has been legally executed shall be embalmed

immediately and so directed by the Director of the correctional institutions division of the

Texas Department of Criminal Justice.” Tex. Code Crim. Pro. art. 43.25. Murphy, who is

Jewish, argues that the Texas embalmment requirement violates his rights under the

Religious Land Use and Institutionalized Persons Act of 2000, 42 U.S.C. § 2000cc et. seq,

and the First Amendment.

       On September 7, 2023, the parties filed a joint motion to dismiss. (Docket Entry

No. 10). The joint motion states that the defendants have agreed to “satisfy Murphy’s

request that his body not be chemically embalmed, modified, or tampered with after his

execution.” (Docket Entry No. 10 at 1). Murphy consents to the dismissal of this lawsuit

“conditioned upon the . . . entry of an order dismissing this case that incorporates the terms”

of the parties’ agreement. (Docket Entry No. 10 at 2). The parties’ joint motion contains
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a stipulation to terms which will “allow [Murphy] to be buried in accordance with his

Jewish faith.” (Docket Entry No. 10 at 3).

         The court grants the parties’ joint motion to dismiss. (Docket Entry No. 10).

Pursuant to the parties’ joint stipulation, the court also orders:

                The Defendants in this matter, and their employees, agents,
                 and contractors, will dispose of Murphy’s body in
                 accordance with his religious faith.

                After the execution of Murphy, the defendants will not
                 chemically embalm, modify, tamper with, add fluids to, or
                 withdraw fluids from his body.

                Murphy’s body will be immediately turned over from the
                 defendants’ custody to the custody of the funeral home, and
                 defendants will inform the funeral home not to chemically
                 embalm, modify, tamper with, add fluids to, or withdraw
                 fluids from his body unless at his wish.

                Murphy or his family may arrange with the funeral home
                 for either the burial of his body, or the transport of his body,
                 however he sees fit, so as to allow him to be buried in
                 accordance with his Jewish faith.

         The complaint (Docket Entry No. 1) is dismissed without prejudice. All deadlines

and hearings in this case are hereby terminated. Final judgment is entered by separate

order.

         SIGNED on September 7, 2023, at Houston, Texas.



                                            _______________________________________
                                                        Lee H. Rosenthal
                                                    United States District Judge
